Case 4:02-cr-00088-ALM-CAN            Document 586        Filed 08/25/10      Page 1 of 3 PageID #:
                                             978




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                      §
                                               §       CRIMINAL NO. 4:02CR88(10)
 v.                                            §
                                               §
 GREGORY ALLAN HUDSON                          §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on August 24, 2010 to determine whether the Defendant violated his supervised

 release. The Defendant was represented by Robert Arrambide. The Government was represented

 by Jay Combs.

        On July 2, 2003, the Defendant was sentenced by the Honorable Paul Brown, United States

 District Judge, to 84 months imprisonment followed by a 3-year term of supervised release for the

 offense of conspiracy to manufacture, distribute, possess, dispense cocaine base (crack)/marijuana.

 On November 20, 2006, this case was re-assigned to the Honorable Richard A. Schell, United States

 District Judge. On April 9, 2008, an order was entered reducing the term of Defendant’s

 imprisonment to 70 months. Defendant’s term of supervised release began on May 9, 2008.

        On August 4, 2010, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (Dkt. 574). The petition asserts that Defendant violated the following




                                                   1
Case 4:02-cr-00088-ALM-CAN            Document 586         Filed 08/25/10      Page 2 of 3 PageID #:
                                             979



 conditions of supervision: (1) Defendant shall refrain from any unlawful use of a controlled

 substance, and Defendant shall submit to one drug test within 15 days of release from imprisonment

 and at least two periodic drug tests thereafter, as determined by the probation officer; (2) Defendant

 shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or

 administer any narcotic or other controlled substance or any paraphernalia related to any such

 substances, except as prescribed by a physician; (3) Defendant shall report to the probation officer

 as directed by the Court or probation officer and shall submit a truthful and complete written report

 within the first five days of each month; (4) Defendant shall notify the probation officer at least ten

 days prior to any change of residence or employment; (5) Defendant shall participate in a program

 of testing and treatment for drug abuse, under the guidance and direction of the U.S. Probation

 Office, until such time as Defendant is released from the program by the probation officer; and (6)

 Defendant shall pay a fine in the amount of $1,000 on a monthly basis at the rate of at least 10% of

 Defendant’s monthly gross income.

        The petition alleges that Defendant committed the following violations: (a) Defendant

 submitted urine specimens on November 2, 2009 and May 10, 2010 that tested positive for

 marijuana, the urine specimen from November 2, 2009 was confirmed positive for marijuana by

 Kroll, and Defendant admitted verbally and in writing to the use of marijuana on May 10, 2010 to

 U.S. Probation Officer Teri Garza; (b) Defendant failed to submit written monthly reports within the

 first five days of the month for the months of March, August and December 2009 and February,

 April, May and June 2010; (c) Defendant failed to notify the U.S. Probation Office of his change in

 residence, during an unannounced home visit conducted by U.S. Probation Officer Teri Garza and


                                                   2
    Case 4:02-cr-00088-ALM-CAN            Document 586         Filed 08/25/10      Page 3 of 3 PageID #:
                                                 980



     Senior U.S. Probation Officer Linda Werner on June 20, 2010, a vacant apparent was discovered,

     upon further investigation and contact with the apartment maintenance main, it was discovered that

     Defendant and his mother had vacated the apartment several weeks prior, and Defendant’s

     whereabouts were unknown at the time of the filing of the petition; (d) Defendant failed to report as

     directed for drug testing at Bob Alterman, LCDC on June 21 and 23 and July 12, 2010; (e)

     Defendant has failed to pay a fine as directed and is in default status, his last payment was in the

     amount of $150 on November 5, 2009, and the current fine balance is $128.20.

            At the hearing, Defendant entered a plea of true to the alleged violations. The Court finds

     that Defendant has violated the terms of his supervised release and that his supervised release should

     be revoked. Defendant waived his right to allocute before the district judge and his right to object

     to the report and recommendation of this Court.

                                           RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the hearing, the Court recommends that the Defendant be committed to of the Bureau

     of Prisons to be imprisoned for a term of 7 months, with no supervised release to follow. It is further
.
     recommended that Defendant be required to pay a fine in the amount of $128.20. The fine should

     be due immediately, payable by cashier’s check or money order, to the United States District Clerk

     and forwarded to the United States District Clerk’s Office, P.O. Box 570, Tyler, Texas 75710.


            SIGNED this 25th day of August, 2010.

                        .


                                                     ____________________________________
                                                       3 D. BUSH
                                                     DON
                                                     UNITED STATES MAGISTRATE JUDGE
